                                  Case 24-11188-TMH                  Doc 1        Filed 06/07/24           Page 1 of 30


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Optio Rx, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3701 Commercial Avenue
                                  Suite 14
                                  Northbrook, IL 60062
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.optiorx.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                   Case 24-11188-TMH                     Doc 1         Filed 06/07/24              Page 2 of 30
Debtor    Optio Rx, LLC                                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4242

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                       Case 24-11188-TMH                       Doc 1       Filed 06/07/24              Page 3 of 30
Debtor    Optio Rx, LLC                                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attached Schedule                                         Relationship

                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Optio Rx, LLC                                                               Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                               $1,000,001 - $10 million              $500,000,001 - $1 billion
                             $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
                                 Case 24-11188-TMH                    Doc 1         Filed 06/07/24             Page 5 of 30
Debtor    Optio Rx, LLC                                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 7, 2024
                                                  MM / DD / YYYY


                             X /s/ Leo LaFranco                                                           Leo LaFranco
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X /s/ William E. Chipman, Jr.                                                 Date June 7, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William E. Chipman, Jr.
                                 Printed name

                                 Chipman Brown Cicero & Cole, LLP
                                 Firm name

                                 Hercules Plaza
                                 1313 North Market Street, Suite 5400
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 295-0191                Email address      chipman@chipmanbrown.com

                                 3818 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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                      SCHEDULE 1 — AFFILIATED DEBTORS

        The following list identifies all of the affiliated entities, including the Debtor filing this
petition, that have filed voluntary petitions for relief in this Court under chapter 11 of title 11 of
the United States Code, 11 U.S.C. §§ 101 et seq., as amended, substantially contemporaneously
with the filing of this petition.


                         DEBTOR’S NAME                       DEBTOR’S EIN          STATE OF INC.

     1.    Optio Rx, LLC                                       XX-XXXXXXX             Delaware
     2.    Braun Pharma, LLC                                   XX-XXXXXXX              Illinois
     3.    HCP Pharmacy LLC                                    XX-XXXXXXX             Delaware
     4.    Pet Apothecary LLC                                  XX-XXXXXXX             Delaware
     5.    The Pet Apothecary LLC                              XX-XXXXXXX            Wisconsin
     6.    Crestview Holdings, LLC                             XX-XXXXXXX             Delaware
     7.    Crestview Pharmacy, LLC                             XX-XXXXXXX              Florida
     8.    Dr. Ike’s PharmaCare LLC                            XX-XXXXXXX             Delaware
     9.    Enovex Pharmacy LLC                                 XX-XXXXXXX             Delaware
     10.   H&H Pharmacy LLC                                    XX-XXXXXXX             Delaware
     11.   SMC Pharmacy LLC                                    XX-XXXXXXX             Delaware
     12.   SMC Lyons Holdings LLC                              XX-XXXXXXX             Delaware
     13.   SBH Medical LLC                                     XX-XXXXXXX             Delaware
     14.   SBH Medical, Ltd.                                   XX-XXXXXXX               Ohio
     15.   Rose Pharmacy RM LLC                                XX-XXXXXXX             Delaware
     16.   Rose Pharmacy SA LLC                                XX-XXXXXXX             Delaware
     17.   Rose Pharmacy SF LLC                                XX-XXXXXXX             Delaware
     18.   Baybridge Pharmacy, LLC                             XX-XXXXXXX             Delaware
     19.   Central Pharmacy, LLC                               XX-XXXXXXX             Delaware
     20.   Pro Pharmacy, LLC                                   XX-XXXXXXX             Delaware
     21.   Healthy Choice Compounding LLC                      XX-XXXXXXX            New York
     22.   Healthy Choice Compounding LLC                      XX-XXXXXXX             Delaware
     23.   Oakdell Compounding Pharmacy LLC                    XX-XXXXXXX              Texas
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                             DEBTOR’S NAME                     DEBTOR’S EIN       STATE OF INC.

       24.      Concierge Pharmacy LLC                           XX-XXXXXXX         California
       25.      Firstcare Pharmacy LLC                           XX-XXXXXXX         California
       26.      Easycare Pharmacy LLC                            XX-XXXXXXX         California
       27.      Primecare Pharmacy LLC                           XX-XXXXXXX         California




                                                   ii
4867-8438-6744, v. 3
                   Case 24-11188-TMH                Doc 1       Filed 06/07/24         Page 8 of 30




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    Optio Rx, LLC, et al.,                                          Case No. 24-xxxxx (xxx)

                     Debtors. 1                                     (Joint Administration Pending)



             DEBTORS’ CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                AND LIST OF EQUITY INTEREST HOLDERS PURSUANT TO
                    FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

             Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), the above-captioned debtor and its debtor affiliates, as

debtors and debtors in possession (each, a “Debtor” and, collectively, the “Debtors”), to the best

of their knowledge, information, and belief, hereto state as follows:

             1.     Debtor Optio Rx, LLC is wholly owned by CBC Pharma HoldCo, LLC.

             2.     Each remaining Debtor is wholly owned by its respective parent entity that holds

100% of such Debtor’s membership interests. The remaining Debtors in these chapter 11 cases

are listed with their respective parent entities, together with the nature of their equity interests, in

the following table:




1
      The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification numbers,
      are as follows: (1) Optio Rx, LLC (8436); (2) Braun Pharma, LLC (6643); (3) Dr. Ike’s PharmaCare LLC (2237);
      (4) Rose Pharmacy SA LLC (5738); (5) Rose Pharmacy SF LLC (1438); (6) Rose Pharmacy RM LLC (4205);
      (7) Pet Apothecary LLC (4315); (8) Crestview Holdings, LLC (1907); (9) SBH Medical, LLC (3260); (10) H&H
      Pharmacy LLC (6793); (11) Enovex Pharmacy LLC (0693); (12) SMC Pharmacy LLC (5428); (13) SMC Lyons
      Holdings LLC (5441); (14) Baybridge Pharmacy, LLC (5518); (15) Central Pharmacy, LLC (6195); (16) Pro
      Pharmacy, LLC (6299); (17) Healthy Choice Compounding LLC (8770); (18) Healthy Choice Compounding
      LLC (1745); (19) Oakdell Compounding Pharmacy LLC (7537); (20) The Pet Apothecary, LLC (6074); (21)
      Crestview Pharmacy, LLC (8091); (22) SBH Medical, Ltd. (3230); (23) Concierge Pharmacy LLC (5410); (24)
      Firstcare Pharmacy, LLC (1203); (25) Easycare Pharmacy LLC (9408); (26) Primecare Pharmacy LLC (7645);
      and (27) HCP Pharmacy LLC (5216). The address of the Debtors’ corporate headquarters is 3701 Commercial
      Avenue, Suite 14, Northbrook, Illinois 60062.
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                                           KIND/CLASS OF INTEREST NAME OF INTEREST HOLDER & PERCENTAGE OF
                 DEBTOR
                                             (MEMBER INTEREST)                 INTERESTS HELD


                                                                    100% owned by:

                                                                    CBC Pharma HoldCo, LLC
                                                                    1420 Kensington Rd, Suite 102
Optio Rx, LLC                                Membership Interests   Oak Brook, IL 60523-2143

Braun Pharma, LLC                            Membership Interests   100% owned by Optio Rx, LLC

HCP Pharmacy LLC                             Membership Interests   100% owned by Optio Rx, LLC

Pet Apothecary LLC                           Membership Interests   100% owned by Optio Rx, LLC

The Pet Apothecary LLC                       Membership Interests   100% owned by Pet Apothecary LLC

Crestview Holdings, LLC                      Membership Interests   100% owned by Optio Rx, LLC

Crestview Pharmacy, LLC                      Membership Interests   100% owned by Crestview Holdings, LLC

Dr. Ike’s PharmaCare LLC                     Membership Interests   100% owned by Optio Rx, LLC

Enovex Pharmacy LLC                          Membership Interests   100% owned by Optio Rx, LLC

H&H Pharmacy LLC                             Membership Interests   100% owned by Optio Rx, LLC

SMC Pharmacy LLC                             Membership Interests   100% owned by Optio Rx, LLC

SMC Lyons Holdings LLC                       Membership Interests   100% owned by Optio Rx, LLC

Concierge Pharmacy LLC                       Membership Interests   100% owned by SMC Lyons Holdings LLC

FirstCare Pharmacy LLC                       Membership Interests   100% owned by SMC Lyons Holdings LLC

Easycare Pharmacy LLC                        Membership Interests   100% owned by SMC Lyons Holdings LLC

Primecare Pharmacy LLC                       Membership Interests   100% owned by SMC Lyons Holdings LLC

SBH Medical LLC                              Membership Interests   100% owned by Optio Rx, LLC

SBH Medical, Ltd.                            Membership Interests   100% owned by SBH Medical LLC

Rose Pharmacy RM LLC                         Membership Interests   100% owned by Optio Rx, LLC
        4869-8630-3160, v. 3
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                                          KIND/CLASS OF INTEREST NAME OF INTEREST HOLDER & PERCENTAGE OF
                DEBTOR
                                            (MEMBER INTEREST)                 INTERESTS HELD


Rose Pharmacy SA LLC                        Membership Interests   100% owned by Optio Rx, LLC

Rose Pharmacy SF LLC                        Membership Interests   100% owned by Optio Rx, LLC

Baybridge Pharmacy, LLC                     Membership Interests   100% owned by Optio Rx, LLC

Central Pharmacy, LLC                       Membership Interests   100% owned by Optio Rx, LLC

Pro Pharmacy, LLC                           Membership Interests   100% owned by Optio Rx, LLC

Healthy Choice Compounding LLC2             Membership Interests   100% owned by Optio Rx, LLC

Healthy Choice Compounding LLC3             Membership Interests   100% owned by Healthy Choice Compounding LLC4

Oakdell Compounding Pharmacy LLC            Membership Interests   100% owned by Optio Rx, LLC




       2
         Healthy Choice Compounding LLC, a Delaware limited liability company.
       3
         Healthy Choice Compounding LLC, a New York limited liability company.
       4
         Healthy Choice Compounding LLC, a Delaware limited liability company.
       4869-8630-3160, v. 3
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      Fill in this information to identify the case:

      Debtor name     Optio Rx, LLC
      United States Bankruptcy Court for the:                           District of Delaware

      Case number (If known):
                                                                                (State)
                                                                                                                                             Check if this is an
                                                                                                                                                amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                    12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and   Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code         email address of creditor     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                 contact                       debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                               professional          unliquidated, total claim amount and deduction for value of
                                                                               services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                     Total claim, if   Deduction for      Unsecured
                                                                                                                     partially         value of           Claim
                                                                                                                     secured           collateral or
                                                                                                                                       setoff

1    Aves Management LLC
                                                P: 312-705-0754
     150 North Riverside Plaza                                                 Subordinated
                                                F:                                                                                                       $73,809,453.52
     Ste 5200                                                                  Noteholders
                                                finance@avescap.com
     Chicago, IL 60606
     Baybridge                                  Attn: Greg Savino
2
     1981 Marcus Ave                            P: 888-927-3499
                                                                               Seller Note                                                               $13,160,000.00
     Ste C129                                   F:
     New Hyde Park, NY 11042                    greg.savino@yahoo.com

3    Pro-Yuriy Davydov                          P:
     21715 85th Ave                             F:                             Seller Note                                                                $3,810,000.00
     Queens Village, NY 11427-1412              adavy830@yahoo.com

4    SBH - Rob Hirsch                           P:
     5202 Sand Lake Ct                          F:                             Seller Note                                                                $2,989,900.43
     Sarasota, FL 34238-4005                    hirshrj@aol.com

     Healthy Choice                             Attn: Phil Altman
5
     150 W End Ave                              P:
                                                                               Seller Note                                                                $2,653,285.10
     Apt 24L                                    F:
     New York, NY 10023-5748                    wholerx.com

6    Pharmcare                                  Attn: Ayk Dzhragatspanyan
     16662 Pineridge Dr                         P: 818-419-2514                Seller Note                                                                $2,643,864.00
     Granada Hills, CA 91344-1848               F:

7    Central-Yuriy Davydov                      P:
     21715 85th Ave                             F:                             Seller Note                                                                $1,830,000.00
     Queens Village, NY 11427-1412              adavy830@yahoo.com

8    H&H                                        Attn: Ayk Dzhragatspanyan
     16662 Pineridge Dr                         P: 818-419-2514                Seller Note                                                                $1,519,005.70
     Granada Hills, CA 91344-1848               F:




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   page 1
                                Case 24-11188-TMH                Doc 1      Filed 06/07/24                 Page 12 of 30


    Debtor
                   Optio Rx, LLC                                                                Case number (if known)
                 Name




     Name of creditor and complete          Name, telephone number, and email   Nature of        Indicate if   Amount of unsecured claim
     mailing address, including zip code    address of creditor contact         the claim        claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                (for example,    contingent, claim amount. If claim is partially secured, fill in
                                                                                trade debts,     unliquidated, total claim amount and deduction for value of
                                                                                bank loans,      or disputed collateral or setoff to calculate unsecured claim.
                                                                                professional
                                                                                services, and
                                                                                                                   Total claim, if   Deduction for    Unsecured
                                                                                                                   partially         value of         claim
                                                                                                                   secured           collateral or
                                                                                                                                     setoff

   Crestview-Bryan Henderson/Hal
9  Densman
   3084 Whitley Oaks Ln                    P:
                                                                                Seller Note                                                            $654,324.00
   Pace, FL 32571-6772                     F:
   349 S Garcon Point Rd
   Milton, FL 32583-7314
   Arcutis Biotherapeutics Inc
10                                         P: 805-418-5006
   3027 Townsgate Road
                                           F:                                   Trade Vendor                                                           $586,485.90
   Suite 300
                                           information@arcutis.com
   Westlake Village, CA 91361
     Rose SF-Trang TERI Hoang &
11
     Peter Chu (Thang Tat Chu)             P: 714-329-9697
                                                                                Seller Note                                                            $514,884.23
     5 Sky MDW                             F:
     Coto DE Caza, CA 92679

12 ICS Direct                              P:
   12601 Collection Center Drive           F:                                   Trade Vendor                                                           $441,954.33
   Chicago, IL 60693                       titlecash@icsconnect.com

                                           P: 800-843-7477
13 FFF Enterprises Inc
                                           F: 800-418-4333
   44000 Winchester Road                                                        Trade Vendor                                                           $374,471.34
                                           fffinfo@fffenterprises.com;
   Temecula, CA 92590
                                           bwemple@fffenterprises.com

14 Mayne Pharma - 128B                     P: 919-922-0561
   PO Box 603644                           F:                                   Trade Vendor                                                           $230,544.13
   Charlotte, NC 28260-3644                us.ar.remit@maynepharma.com
   Troutman Pepper Hamilton
15 Sanders LLP                             P: 302-777-6500
                                                                                Professional
     1313 Market Street, Suite 5100        F:                                                Disputed                                                  $222,676.20
                                                                                Fees
     Hercules Plaza                        kathleen.sawyer@troutman.com
     Wilmington, DE 19801
16 Enovex                                  Attn: Ayk Dzhragatspanyan
   16662 Pineridge Dr                      P: 818-419-2514                      Seller Note                                                            $181,301.04
   Granada Hills, CA 91344-1848            F:

17 ARL Bio Pharma, Inc.                    P: 717-829-6448
   840 Research Parkway                    F:                                   Trade Vendor                                                           $101,544.00
   Oklahoma City, OK 73104                 info@arlok.com

18 Virtus Pharmaceuticals LLC              P: 267-938-4850
   PO Box 947177                           F: 813-283-1354                      Trade Vendor                                                           $101,430.00
   Atlanta, GA 30394-7177                  arcash@eversana.com

19 Oakdell-Jeff Carson                     P: 210 240-8316
   31120 Knotty Grove                      F:                                   Seller Note                                                            $78,590.77
   Boerne, TX 78015                        crocea411@yahoo.com

20 Plante Moran PLLC - 1725                P: 248-352-2500
   16060 Collections Center Dr             F: 248-352-0018                      Trade Vendor                                                           $55,000.00
   Chicago, IL 60693                       tom.risi@plantemoran.com

    Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   page 2
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     Name of creditor and complete          Name, telephone number, and email   Nature of       Indicate if   Amount of unsecured claim
     mailing address, including zip code    address of creditor contact         the claim       claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                (for example,   contingent, claim amount. If claim is partially secured, fill in
                                                                                trade debts,    unliquidated, total claim amount and deduction for value of
                                                                                bank loans,     or disputed collateral or setoff to calculate unsecured claim.
                                                                                professional
                                                                                services, and
                                                                                                                Total claim, if   Deduction for      Unsecured
                                                                                                                partially         value of           claim
                                                                                                                secured           collateral or
                                                                                                                                  setoff


21 INCYTE                                  P:
   12601 Collection Center Drive           F:                                   Trade Vendor                                                          $44,417.52
   Chicago, IL 60693                       ir@incyte.com

22 BSD Construction, Inc.                  P: 858-657-9186
   8369 Vickers Street #100                F: 858-657-0914                      Trade Vendor                                                          $34,670.74
   San Diego, CA 92111                     info@bsdbuilders.com

     Constangy, Brooks, Smith &
23                                         P: 404-230-6002
     Prophete, LLP - 7070
                                           F:                                   Trade Vendor                                                          $32,555.20
     PO Box 102476
                                           nwasser@constangy.com
     Atlanta, GA 30368-0476
   Forte Bio-Pharma LLC - 8744
24                                         P: 833-336-7837
   PO Box 29650
                                           F: 833-336-7837                     Trade Vendor                                                           $29,152.06
   Dept 880412
                                           francisco.torres@fortebiopharma.com
   Phoenix, AZ 85038-9650
   Journey Medical Corporation -
25 5894                                    P: 973-349-7497
   9237 East Via De Ventura                F:                                   Trade Vendor                                                          $17,644.32
   Suite 105                               journeymedicalar@icsconnect.com
   Scottsdale, AZ 85258
26 PAAS National LLC                       P: 888-870-7227
   160 Business Park Circle                F:                                   Trade VendorDisputed                                                  $17,089.00
   Stoughton, WI 53589                     info@paasnational.com

27 Medisca Inc
                                           P:
   626 Tom Miller Road                                                          Trade Vendor                                                          $13,819.53
                                           F:
   Plattsburgh, NY 12901

28 FDS, Inc.                               P: 949-757-0400
   5000 Birch Street, Suite 8500           F: 949-757-0404                      Trade Vendor                                                           $8,488.62
   Newport Beach, CA 92660                 info@fdsinc.net

29 P.C.C.A., INC                           P: 800-331-2498
   9901 South Wilcrest Dr                  F:                                   Trade Vendor                                                           $8,345.21
   Houston, TX 77099                       accounting@pccarx.com

     Amneal Pharmaceuticals
30                                         P: 833-289-8559
     Lockbox #7979
                                           F: 614-652-8349                      Trade Vendor                                                           $7,040.00
     PO Box 7247
                                           accountsreceivable@amneal.com
     Philadelphia, PA 19170-0001




  Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                  page 3
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Fill in this information to identify the case:

Debtor name         Optio Rx, LLC

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration       Debtors' Consolidated Corporate Ownership Statement and List of Equity
                                                                Interest Holders Pursuant to Fed. R. Bankr. P. 1007(a)(1), 1007(a)(3), and
                                                                7007.1

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 7, 2024                    X /s/ Leo LaFranco
                                                           Signature of individual signing on behalf of debtor

                                                            Leo LaFranco
                                                            Printed name

                                                            Chief Financial Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                   RESOLUTIONS OF THE GOVERNING BODIES OF
                                 OPTIO RX, LLC,
                              BRAUN PHARMA, LLC
                              HCP PHARMACY LLC,
                             PET APOTHECARY LLC,
                          THE PET APOTHECARY, LLC,
                          CRESTVIEW HOLDINGS, LLC,
                         CRESTVIEW PHARMACY, LLC,
                          DR. IKE’S PHARMACARE LLC,
                            ENOVEX PHARMACY LLC,
                              H&H PHARMACY LLC,
                              SMC PHARMACY LLC,
                           SMC LYONS HOLDINGS LLC,
                          CONCIERGE PHARMACY LLC,
                          FIRSTCARE PHARMACY LLC,
                           EASYCARE PHARMACY LLC,
                          PRIMECARE PHARMACY LLC,
                               SBH MEDICAL LLC,
                               SBH MEDICAL, LTD.,
                            ROSE PHARMACY RM LLC,
                            ROSE PHARMACY SA LLC,
                            ROSE PHARMACY SF LLC,
                          BAYBRIDGE PHARMACY, LLC,
                           CENTRAL PHARMACY, LLC,
                              PRO PHARMACY, LLC,
                      HEALTHY CHOICE COMPOUNDING LLC,
                    HEALTHY CHOICE COMPOUNDING LLC, AND
                    OAKDELL COMPOUNDING PHARMACY LLC

                                          June 7, 2024

       WHEREAS, Pharmacy Management LLC (“Pharmacy Manager”) is the sole manager
of Optio Rx, LLC (“Optio Manager” or “Optio Member,” as applicable);

         WHEREAS, Optio Manager is the sole manager of each of Braun Pharma, LLC, an Illinois
limited liability company; HCP Pharmacy LLC, a Delaware limited liability company; Pet
Apothecary LLC, a Delaware limited liability company (“Pet Apothecary Member”); The Pet
Apothecary, LLC, a Wisconsin limited liability company; Crestview Holdings, LLC, a Delaware
limited liability company (“Crestview Member”); Crestview Pharmacy, LLC, a Florida limited
liability company; Dr. Ike’s Pharmacare LLC, a Delaware limited liability company; Enovex
Pharmacy LLC, a Delaware limited liability company; H&H Pharmacy LLC, a Delaware limited
liability company; SMC Pharmacy LLC, a Delaware limited liability company; SMC Lyons
Holdings LLC, a Delaware limited liability company (“SMC Member”); Concierge Pharmacy
LLC, a California limited liability company; Firstcare Pharmacy LLC, a California limited liability
company; Easycare Pharmacy LLC, a California limited liability company; Primecare Pharmacy
LLC, a California limited liability company; SBH Medical LLC, a Delaware limited liability
company (“SBH Member”); SBH Medical, Ltd., an Ohio limited liability company; Rose
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Pharmacy RM LLC, a Delaware limited liability company; Rose Pharmacy SA LLC, a Delaware
limited liability company; Rose Pharmacy SF LLC, a Delaware limited liability company;
Baybridge Pharmacy, LLC, a Delaware limited liability company; Central Pharmacy, LLC, a
Delaware limited liability company; Pro Pharmacy, LLC, a Delaware limited liability company;
Healthy Choice Compounding LLC, a Delaware limited liability company (“Healthy Choice
Member” and together with Optio Member, Pet Apothecary Member, Crestview Member, SMC
Member and SBH Member, the “Authorizing Members”); Healthy Choice Compounding LLC,
a New York limited liability company; and Oakdell Compounding Pharmacy LLC, a Texas limited
liability company (collectively, the “Subsidiaries” and together with Optio Manager, the
“Companies”);

      WHEREAS, the Optio Member is the sole member of Braun Pharma, LLC; HCP
Pharmacy, LLC; Pet Apothecary Member; Crestview Member; Dr. Ike’s Pharmacare LLC; Enovex
Pharmacy LLC; H&H Pharmacy, LLC; SMC Pharmacy LLC; SMC Member; SBH Member; Rose
Pharmacy RM LLC; Rose Pharmacy SA LLC; Rose Pharmacy SF LLC; Baybridge Pharmacy,
LLC; Central Pharmacy, LLC; Pro Pharmacy, LLC; Healthy Choice Member; and Oakdell
Compounding Pharmacy LLC;

       WHEREAS, the Pet Apothecary Member is the sole member of The Pet Apothecary, LLC;

       WHEREAS, the Crestview Member is the sole member of Crestview Pharmacy, LLC;

        WHEREAS, the SMC Member is the sole member of each of Concierge Pharmacy, LLC,
Firstcare Pharmacy, LLC, Easycare Pharmacy, LLC and Primecare Pharmacy, LLC;

       WHEREAS, the SBH Member is the sole member of SBH Medical, Ltd.;

     WHEREAS, the Healthy Choice Member is the sole member of Healthy Choice
Compounding LLC;

        WHEREAS, Pharmacy Manager, Optio Manager, and the Authorizing Members
(collectively, the “Governing Bodies”) have had the opportunity to consult with the management
and the legal and financial advisors of such Company to fully consider, and has considered, each
of the strategic alternatives available to such Company;

       WHEREAS, each Governing Body desires to approve the following resolutions;

      WHEREAS, Section 5.3 of the Operating Agreement of each Company provides that its
Manager or Member, as applicable, may act by written consent in lieu of a meeting;

        WHEREAS, Sections 18-301(d) and 18-404(d) of the Delaware Limited Liability
Company Act; Sections 6.201 and 101.358 of the Texas Business Organizations Code; Sections
407(a) and 408(c) of the New York Limited Liability Law; Section 15-1(e) of the Illinois Limited
Liability Company Act; Sections 605.04073(4) and (5) of the Florida Revised Limited Liability
Company Act; Section 183.0407(4) of the Wisconsin Uniform Limited Liability Company Law;
Section 1104.07(n)(1) of the California Revised Uniform Limited Liability Company Act; and
Section 1706.30(D) of the Ohio Revised Limited Liability Company Act provide that members
and managers may act by written consent in lieu of a meeting;
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          WHEREAS, the limited liability company acts of certain states under the laws of which
  certain Subsidiaries are formed require, or arguably require, member approval to file bankruptcy
  petitions;

I.       CHAPTER 11 FILING

        WHEREAS, the Governing Body of each Company, acting in its capacity as a member
 and/or manager, as applicable, has considered presentations by the management and the financial
 and legal advisors of such Company regarding the liabilities and liquidity situation of such
 Company, the strategic alternatives available to it and the effect of the foregoing on such
 Company’s business, creditors, stakeholders and other parties in interest;

         WHEREAS, the Governing Body of each Company has had the opportunity to consult
 with such Company’s management and financial and legal advisors and fully consider each of the
 strategic alternatives available to such Company;

         WHEREAS, the Governing Body of each Company, based on its review of all available
 alternatives and advice provided by such advisors and professionals, has determined that it is
 advisable and in the best interest of such Company and its stakeholders for such Company to take
 the actions specified in the following resolutions;

         WHEREAS, the Governing Body of each Company has been presented with a proposed
 voluntary petition (the “Chapter 11 Petition”) to be filed by such Company in the United States
 Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) seeking relief under the
 provisions of Chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), in which
 the authority to operate as a debtor-in-possession will be sought;

        WHEREAS, the Governing Body of each Company has had the opportunity to consult
 with the management and the legal and financial advisors of such Company regarding the material
 terms of the “first day” pleadings, applications, affidavits and other documents, in each case, in
 form and substance substantially similar to the form provided to the Governing Bodies as of the
 date hereof (collectively, the “Chapter 11 Filings”) to be filed by such Company before the
 Bankruptcy Court in connection with the commencement of such Company’s Chapter 11 case (the
 “Bankruptcy Case”); and

        WHEREAS, the Governing Body of each Company, having considered the financial and
 operational aspects of such Company’s business and the best course of action to maximize value,
 have determined that it is advisable and in the best interest of such Company, its creditors,
 stakeholders and other interested parties that the Chapter 11 Petition be filed by such Company
 seeking relief under the provisions of Chapter 11 of the Bankruptcy Code.

          NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Governing Body
 of each Company, it is advisable and in the best interest of such Company, its creditors,
 stakeholders and other interested parties, that the Chapter 11 Petition and the Chapter 11 Filings
 be filed by such Company seeking relief under the provisions of Chapter 11 of the Bankruptcy
 Code, and the filing of such Chapter 11 Petition and Chapter 11 Filings is authorized hereby; and
 be it further
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               RESOLVED, that any officer of each Company or its sole member or sole manager, as
       applicable (each an “Authorized Person”), in each case, be, and each hereby is, authorized,
       empowered and directed, on behalf of and in the name of such Company, to execute and verify the
       Chapter 11 Petition and the Chapter 11 Filings in the name of such Company under Chapter 11 of
       the Bankruptcy Code and to cause the same to be filed in the Bankruptcy Court in such form and
       at such time as the Authorized Person(s) executing said Chapter 11 Petition and Chapter 11 Filings
       on behalf of such Company shall determine.

 II.          PLAN OF REORGANIZATION AND DISCLOSURE STATEMENT

          WHEREAS, the Governing Body of each Company has had the opportunity to consult
   with the management and legal and financial advisors of such Company regarding the material
   terms of a proposed plan of reorganization (the “Plan”) pursuant to which such Company would,
   among other things, implement a reorganization of such Company’s liabilities and emerge from its
   Bankruptcy Case;

          WHEREAS, the Governing Body of each Company has had the opportunity to consult
   with the management and the legal and financial advisors of such Company regarding the material
   terms of a proposed Disclosure Statement (the “Disclosure Statement”) accompanying the Plan
   and the contents and disclosures thereof; and

           WHEREAS, the Governing Body of each Company has determined that it is advisable
   and in the best interest of such Company, its creditors, stakeholders and other interested parties
   that such Company, in furtherance of a reorganization of such Company’s liabilities and emergence
   from Chapter 11, file the Plan and Disclosure Statement with the Bankruptcy Court and to solicit
   acceptances and approvals thereof.

           NOW, THEREFORE, BE IT RESOLVED, that the Governing Body of each Company
   adopts, ratifies, confirms and approves the form, terms and provisions of, and each of the
   transactions contemplated by the Plan and the Disclosure Statement, as each may be amended or
   modified from time to time; and be it further

            RESOLVED, that each Company’s advisors be, and each hereby is, authorized,
   empowered and directed, on behalf of an in the name of such Company, to prepare, finalize and
   file, as appropriate, procedures for the solicitation and tabulation of votes to accept or reject the
   Plan.

III.          DIP FINANCING

          WHEREAS, the Governing Body of each Company has determined that, in connection
   with the Bankruptcy Case, it is desirable and in the best interest of such Company, its creditors,
   stakeholders, and other interested parties to request that one or more potential financing sources
   provide such Company with post-petition debtor-in-possession financing, including, but not
   limited to, a multi-draw term loan facility of $10,000,000.00 (collectively “DIP Financing”),
   subject to exceptions and limitations to be set forth in any orders of the Bankruptcy Court
   concerning any of the DIP Financing (the “DIP Financing Orders”);
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        WHEREAS, the Governing Body of each Company has been presented with and has
reviewed the terms and provisions of a definitive senior secured super-priority debtor-in-
possession credit agreement (the “DIP Financing Agreement”) by and among such Company and
certain of its affiliates, as debtors-in-possession, and Funds and vehicles managed by (i) MC Credit
Partners LP and (ii) CION Investment Corporation, as First Out Holders under the Prepetition
Credit Agreement, and Caprice Capital Partners, LLC (collectively, with the other lenders
contemplated by the DIP Financing Agreement, the “DIP Lenders”) pursuant to which the DIP
Lenders have agreed to provide such Company with DIP Financing, which provides for the
borrowing and reborrowing of loans, guaranteeing of obligations, granting of security and the
pledging of collateral;

        WHEREAS, in connection with the DIP Financing Agreement, the DIP Lenders require
that each Company grant security interests in substantially all of its assets that now or hereafter
come into the possession, custody or control of such Company, in order to secure the prompt and
complete payment, observance, and performance of all obligations under the DIP Financing
Agreement, subject to exceptions and limitations to be set forth in DIP Financing Orders and
related documents contemplated thereunder (collectively, the “DIP Documents”); and

        WHEREAS, the Governing Body of each Company has determined that it is in the best
interests of such Company, its creditors, stakeholders, and other interested parties, for such
Company to (i) consummate the transactions contemplated by the DIP Financing Agreement
provided to the Governing Body of such Company, and (ii) empower, authorize and direct the
Authorized Persons of such Company to take any and all actions as may be deemed appropriate to
effect and perform the transactions contemplated thereby.

       NOW, THEREFORE, BE IT RESOLVED, that the form, terms and provisions of the
DIP Financing Agreement are hereby, in all respects, authorized, ratified, approved and adopted
by the Governing Body of each Company on behalf of such Company; and it be further

       RESOLVED, that each Company be, and hereby is, authorized to incur and to undertake
any and all related transactions contemplated under the DIP Financing Agreement and the DIP
Documents; and it be further

        RESOLVED, that Optio Manager be, and hereby is, authorized to borrow and reborrow
loans, guaranty obligations, grant security interests in collateral and pledge collateral pursuant to,
and in accordance with, the DIP Documents; and it be further

        RESOLVED, that each Company be, and hereby is, authorized to guaranty obligations,
grant security interests in collateral and pledge collateral pursuant to, and in accordance with, the
DIP Documents; and it be further

       RESOLVED, that the Authorized Persons be, and each of them hereby is, empowered,
authorized and directed, with full power of delegation, on behalf of and in the name of such
Company, to cause such Company to negotiate, execute and deliver the DIP Financing Agreement
and the related documents contemplated thereby, in such form and with such changes or
amendments (substantial or otherwise) thereto as any one or more of such Authorized Persons may
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      deem necessary, desirable or appropriate, in order to consummate the transactions contemplated
      by the DIP Financing Agreement; and it be further

          RESOLVED, that the Authorized Persons be, and each of them hereby is, empowered,
   authorized and directed, with full power of delegation, on behalf of and in the name of such
   Company, to take all such further actions which shall be necessary, proper or advisable to perform
   such Company’s obligations under or in connection with the DIP Financing Agreement, the DIP
   Documents and the transactions contemplated therein, and to carry out fully the intent of the
   foregoing resolutions.

IV.          RETENTION OF PROFESSIONALS

           RESOLVED, that the Authorized Persons be, and each hereby is empowered, authorized
  and directed, on behalf of and in the name of such Company, to continue to retain and employ the
  law firm of Chipman Brown Cicero & Cole, LLP (“CBCC”), as general bankruptcy counsel, to
  represent and assist such Company in carrying out its duties under the Bankruptcy Code, and to
  take any and all actions to advance such Company’s rights and obligations, including filing any
  motions, objections, replies, applications, or pleadings in the Bankruptcy Case and all other related
  matters in connection therewith, in such capacities and on such terms as the Authorized Persons of
  such Company, and each of them, may or shall approve and/or have previously approved; and be
  it further

          RESOLVED, that the Authorized Persons be, and each hereby is empowered, authorized
  and directed, on behalf of and in the name of such Company, to continue to retain Paladin
  Management Group, LLC (“Paladin”) to serve as financial advisor to such Company, and (iii)
  Stretto (“Stretto”) to provide consulting services to such Company regarding noticing, claims
  management and reconciliation, plan solicitation, balloting, disbursements, and any other services
  agreed to by the parties; and be it further

           RESOLVED, that the Authorized Persons be, and each hereby is, empowered, authorized
  and directed, on behalf of and in the name of such Company, to continue the employment and
  retention of professionals in the ordinary course as long as they deem appropriate and in the
  Bankruptcy Case to retain and employ other attorneys, accountants, and other professionals to
  assist in such Company’s Bankruptcy Case on such terms as are deemed necessary, appropriate or
  advisable; and be it further

          RESOLVED, that the Authorized Persons be, and each hereby is, authorized and directed,
  on behalf of and in the name of such Company, to execute any appropriate engagement letters and
  agreements and such other documents necessary to retain or continue to retain CBCC, Paladin,
  and Stretto, and any other or additional financial advisors, investment bankers, accountants,
  auditors, advisors, legal counsel, and other professionals not specifically identified herein (the
  “Professionals”), and to cause such Company to pay appropriate retainers to such Professionals
  prior to the filing of the Bankruptcy Case or after to the extent appropriate and permitted in the
  Bankruptcy Case, and to cause to be filed appropriate applications or motions seeking authority to
  retain and pay for the services of such Professionals; and be it further
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         RESOLVED, that the Authorized Persons be, and each hereby is, authorized and directed,
  on behalf of and in the name of such Company, to pay, or cause to be paid, all fees and expenses
  incurred by such Company in connection with services rendered by the Professionals and to make,
  or cause to be made, all payments as they, or any of them individually, shall determine to be
  necessary, appropriate or advisable, such payment to be conclusive evidence of their
  determination; and be it further

V.          GENERAL

          RESOLVED, that Jarlath Johnston is hereby authorized to execute these resolutions on
  behalf of Optio Rx, LLC in its capacity as Optio Manager and Optio Member;

             RESOLVED, that the Authorized Persons be, and each hereby is, authorized, empowered
     and directed, on behalf of and in the name of such Company, to amend, supplement or otherwise
     modify from time to time the terms of any documents, certificates, instruments, agreements,
     financing statements, notices, undertakings or other writings referred to in the foregoing
     resolutions; and be it further

             RESOLVED, that the Authorized Persons be, and each hereby is, authorized, empowered
     and directed, on behalf of and in the name of such Company, to take or cause to be taken any and
     all such further action and to execute, deliver, perform, verify and/or file, or cause to be executed,
     delivered, performed, verified and/or filed (or direct others to do so on its behalf as provided
     herein) all such further documents, agreements, instruments, financing statements, notices,
     undertakings, certificates, resolutions and other writings as they or any of them deem necessary,
     desirable or appropriate to effectuate the purpose and intent of any and all of the foregoing
     resolutions, the necessity, desirability, and appropriateness of which shall be conclusively
     evidenced by the action in support thereof, or the execution and delivery thereof, by such
     Authorized Persons (or such persons directed by such Authorized Persons); and be it further

             RESOLVED, that all acts lawfully done or actions lawfully taken by any Authorized
     Person to seek relief on behalf of such Company under Chapter 11 of the Bankruptcy Code, or in
     connection with the Bankruptcy Case, or any matter related thereto, be, and hereby are, adopted,
     ratified, confirmed and approved in all respects as the acts and deeds of such Company in all
     respects by the Governing Body of such Company; and be it further

            RESOLVED, that all acts lawfully done or actions lawfully taken by any Authorized
     Person, or by any employees or agents of such Company, on or before the date hereof in connection
     with the transactions contemplated by the foregoing resolutions be, and hereby are, authorized,
     adopted, ratified, confirmed and approved in all respects by the Governing Body of such Company;
     and be it further

             RESOLVED, that the omission from these resolutions of any agreement, document or
     other arrangement contemplated by any of the agreements, instruments, filings or other documents
     described in the foregoing resolutions or any action to be taken in accordance with any requirement
     of any of the agreements, instruments, filings or other documents described in the foregoing
     resolutions shall in no manner derogate from the authority of the Authorized Persons to take all
     actions necessary, appropriate or advisable to consummate, effectuate, carry out or further the
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transaction contemplated by, and the intent and purposes of, the foregoing resolutions, the
necessity, appropriateness, and advisability, of which shall be conclusively evidenced by the
execution and delivery thereof, or action in support thereof, by such Authorized Person; and be it
further

        RESOLVED, that the Governing Body of such Company has received sufficient notice of
the actions and transactions relating to the matters contemplated by the foregoing resolutions, as
may be required by the organizational documents of such Company, or hereby waive any right to
have received such notice; and be it further

         RESOLVED, that the Authorized Persons be, and each hereby is, authorized, empowered
and directed, on behalf of and in the name of such Company, to execute, deliver, perform, verify
and/or file, or cause to be executed, delivered, performed, verified and/or filed (or direct others to
do so on their behalf as provided herein) all necessary documents, including, without limitation,
all petitions, affidavits, statements, schedules, motions, lists, applications, pleadings, other papers,
guarantees, reaffirmations, additional security documents, control agreements, waivers of or
amendments to existing documents, and to negotiate the forms, terms and provisions of, and to
execute and deliver any amendments, modifications, waivers or consent to any of the foregoing as
may be approved by any Authorized Person, which amendments, modifications, waivers or
consents may provide for consent payments, fees or other amounts payable or other modifications
of or relief under such agreements or documents, the purpose of such amendments, modifications,
waivers or consents being to facilitate consummation of the transactions contemplated by the
foregoing resolutions or for any other purpose, and, in connection with the foregoing, to employ
and retain all assistance by legal counsel, investment bankers, accountants, restructuring
professionals or other professionals, and to take any and all action which such Authorized Person
or Authorized Persons deem necessary, appropriate or advisable in connection with the Bankruptcy
Case, and the DIP Financing, with a view to the successful prosecution of the Bankruptcy Case
contemplated by the foregoing resolutions and the successful consummation of the transactions
contemplated by the foregoing resolutions including, without limitation, any action necessary,
appropriate, or advisable to maintain the ordinary course operation of such Company’s business;
and be it further

         RESOLVED, that the Authorized Persons be, and each hereby is, authorized, empowered
and directed, on behalf of and in the name of such Company, to execute, deliver and perform any
and all special powers of attorney as such Authorized Person may deem necessary, appropriate or
advisable to facilitate consummation of the transactions contemplated by the foregoing resolutions,
pursuant to which such Authorized Person will make certain appointments of attorneys to facilitate
consummation of the transactions contemplated by the foregoing resolutions as such Company’s
true and lawful attorneys and authorize each such attorney to execute and deliver any and all
documents of whatsoever nature and description that may be necessary, appropriate or advisable
to facilitate consummation of the transactions contemplated by the foregoing resolutions.



                                     [Signature Page Follows]
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        IN WITNESS WHEREOF, the undersigned have executed this written consent as of the
date first set forth above.


                                        PHARMACY MANAGEMENT LLC,
                                        in its capacity as manager of Optio Rx, LLC

                                        By: its Board of Managers


                                        ______________________________
                                        Jarlath Johnston
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        IN WITNESS WHEREOF, the undersigned has executed this written consent as of the
date first set forth above.
                                        OPTIO RX, LLC, in its capacity as Manager of each
                                        Subsidiary

                                        ______________________________
                                        By: Jarlath Johnston
                                        Its: Authorized Signatory
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IN WITNESS WHEREOF, the undersigned has executed this written consent as of the date first
set forth above.

                                         OPTIO RX, LLC, in its capacity as Sole Member of
                                         each of Braun Pharma, LLC; HCP Pharmacy LLC;
                                         Pet Apothecary LLC; Crestview Holdings, LLC; Dr.
                                         Ike’s Pharmacare LLC; Enovex Pharmacy LLC;
                                         H&H Pharmacy LLC; SMC Pharmacy LLC; SMC
                                         Lyons Holdings LLC; SBH Medical LLC; Rose
                                         Pharmacy RM LLC; Rose Pharmacy SA LLC; Rose
                                         Pharmacy SF LLC; Baybridge Pharmacy, LLC;
                                         Central Pharmacy, LLC; Pro Pharmacy, LLC;
                                         Healthy Choice Compounding LLC; and Oakdell
                                         Compounding Pharmacy LLC

                                         ______________________________
                                         By: Jarlath Johnston
                                         Its: Authorized Signatory
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IN WITNESS WHEREOF, the undersigned has executed this written consent as of the date first
set forth above.

                                         PET APOTHECARY LLC, in its capacity as Sole
                                         Member of The Pet Apothecary, LLC

                                         By: Optio Rx, LLC
                                         Its: Manager

                                         ______________________________
                                         By: Jarlath Johnston
                                         Its: Authorized Signatory
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IN WITNESS WHEREOF, the undersigned has executed this written consent as of the date first
set forth above.

                                         CRESTVIEW HOLDINGS, LLC, in its capacity as
                                         Sole Member of Crestview Pharmacy, LLC

                                         By: Optio Rx, LLC
                                         Its: Manager

                                         ______________________________
                                         By: Jarlath Johnston
                                         Its: Authorized Signatory
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IN WITNESS WHEREOF, the undersigned has executed this written consent as of the date first
set forth above.

                                         SMC LYONS HOLDINGS LLC, in its capacity as
                                         Sole Member of Concierge Pharmacy, LLC;
                                         Firstcare Pharmacy, LLC; Easycare Pharmacy, LLC;
                                         and Primecare Pharmacy, LLC

                                         By: Optio Rx, LLC
                                         Its: Manager

                                         ______________________________
                                         By: Jarlath Johnston
                                         Its: Authorized Signatory
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IN WITNESS WHEREOF, the undersigned has executed this written consent as of the date first
set forth above.

                                         SBH Medical LLC, in its capacity as Sole Member
                                         of SBH Medical, Ltd.

                                         By: Optio Rx, LLC
                                         Its: Manager

                                         ______________________________
                                         By: Jarlath Johnston
                                         Its: Authorized Signatory
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IN WITNESS WHEREOF, the undersigned has executed this written consent as of the date first
set forth above.

                                         HEALTHY CHOICE COMPOUNDING LLC, in its
                                         capacity as Sole Member of Healthy Choice
                                         Compounding LLC

                                         By: Optio Rx, LLC
                                         Its: Manager

                                         ______________________________
                                         By: Jarlath Johnston
                                         Its: Authorized Signatory
